          Case 21-52238-lrc               Doc 1        Filed 03/19/21 Entered 03/19/21 11:08:13                         Desc Main
                                                       Document      Page 1 of 58


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       Case 21-52238-lrc                 Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                     Desc Main
                                                        Document      Page 2 of 58

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         Case 21-52238-lrc                 Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                       Desc Main
                                                          Document      Page 3 of 58

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         Case 21-52238-lrc                 Doc 1           Filed 03/19/21 Entered 03/19/21 11:08:13                                     Desc Main
                                                           Document      Page 4 of 58




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         Case 21-52238-lrc                Doc 1            Filed 03/19/21 Entered 03/19/21 11:08:13                                           Desc Main
                                                           Document      Page 5 of 58

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         Case 21-52238-lrc                  Doc 1             Filed 03/19/21 Entered 03/19/21 11:08:13                                                    Desc Main
                                                              Document      Page 6 of 58

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     Case 21-52238-lrc             Doc 1           Filed 03/19/21 Entered 03/19/21 11:08:13                                Desc Main
                                                   Document      Page 7 of 58




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            Case 21-52238-lrc                          Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                       Desc Main
                                                                     Document      Page 8 of 58

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  Official Form 107
  Statement of Financial Affairs for lndividuals Filing for Bankruptcy                                                                                 04/16
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                Marietta                         cA         30064
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          Case 21-52238-lrc                      Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                   Desc Main
                                                             Document      Page 9 of 58

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       Case 21-52238-lrc                          Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                              Desc Main
                                                              Document     Page 10 of 58

                TIEN                     QUANG                           LE




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        Case 21-52238-lrc                Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                               Desc Main
                                                        Document     Page 11 of 58

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 7. Wttln I y..r   !.lon you fLd tor !.ntruptcy, dtd yo! m.r. . p.rm.d o. . d.bt you o*.d rnyon. ,ho w.. tn!td.,                          .r
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         Case 21-52238-lrc                     Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                             Desc Main
                                                              Document     Page 12 of 58

             TIEN                       OUANG                             LE




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          ce.umb.r 20-J-08164                                                                      l\,,larietta          GA     30090


                                                            Co leclion                             Cobb County State Cou.t
          c6se r,rE     Bank of America, NA                                                                                                 E   p"noinq

           vs Tien Quano Le
                                                                                                                                            E   con".r"a"o

          c.*r, b., 20-A'4424                                                                                            GA     30090


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Case 21-52238-lrc         Doc 1   Filed 03/19/21 Entered 03/19/21 11:08:13
                                                                    Desc Main
                                  Document              -tien Quanl @
                                               Page 13 of 58


Statement ofFinancial Affairs for Individuals Filing for Bankruptcy

Pan 4 number 9



#3

Case   Title: Bank ofAmerica, NA vs Tien Quang Le

Case Number: 20-A-4410

Nature of Case: Collection

Court: Cobb County State Cout

Address: 12 E Park Square, Marietta, GA 30090

Status ofCase: Pending



#4

Case   Title: Bank ofAmerica, NA vs Tien Quang Le

Case   Nunber: 20-A-4423

Natue of Case: Collection
Court: Cobb County State Coufi

Address: l2 E Park Squarc, Marietta, GA 30090

Status of Case: Pending
        Case 21-52238-lrc                                Doc 1      Filed 03/19/21 Entered 03/19/21 11:08:13                                    Desc Main
                                                                    Document     Page 14 of 58

                 TIEN                          QUANG                            LE




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         Case 21-52238-lrc                              Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                                              Desc Main
                                                                      Document     Page 15 of 58

               TEN                               OUANG                             LE




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          Case 21-52238-lrc                       Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                   Desc Main
                                                              Document     Page 16 of 58

                TIEN                          QUANG                      LE



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           Case 21-52238-lrc                    Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                     Desc Main
                                                               Document     Page 17 of 58

o.b,o.1           T|EN                       OUANG                       LE




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           Case 21-52238-lrc                       Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                     Desc Main
                                                               Document     Page 18 of 58

                 TIEN                         OUANG                        LE



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        Case 21-52238-lrc                      Doc 1        Filed 03/19/21 Entered 03/19/21 11:08:13                                    Desc Main
                                                            Document     Page 19 of 58

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          Case 21-52238-lrc                   Doc 1        Filed 03/19/21 Entered 03/19/21 11:08:13                                   Desc Main
                                                           Document     Page 20 of 58

              TEN                   OUANG                           LE



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            Case 21-52238-lrc                                 Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                             Desc Main
                                                                          Document     Page 21 of 58

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         Case 21-52238-lrc                 Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                                            Desc Main
                                                       Document     Page 22 of 58
               TEN             QUANG                              LE



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     Case 21-52238-lrc               Doc 1      Filed 03/19/21 Entered 03/19/21 11:08:13                                           Desc Main
                                                Document     Page 23 of 58
            TEN             OUANG                     LE




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            Case 21-52238-lrc                          Doc 1        Filed 03/19/21 Entered 03/19/21 11:08:13                                   Desc Main
                                                                    Document     Page 24 of 58
                  TIEN                         QUANG                        LE




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            Case 21-52238-lrc                      Doc 1              Filed 03/19/21 Entered 03/19/21 11:08:13                                   Desc Main
                                                                      Document     Page 25 of 58
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             Case 21-52238-lrc                     Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                  Desc Main
                                                                  Document     Page 26 of 58
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             Case 21-52238-lrc                       Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                                            Desc Main
                                                                   Document     Page 27 of 58
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              Case 21-52238-lrc                          Doc 1           Filed 03/19/21 Entered 03/19/21 11:08:13                                             Desc Main
                                                                         Document     Page 28 of 58
                    TIEN                 OUANG                                  LE




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           Case 21-52238-lrc                        Doc 1     Filed 03/19/21 Entered 03/19/21 11:08:13                          Desc Main
                                                              Document     Page 29 of 58
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            Case 21-52238-lrc                           Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                        Desc Main
                                                                       Document     Page 30 of 58
                       TIEN                 QUANG                           LE


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          Case 21-52238-lrc                 Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                                                Desc Main
                                                          Document     Page 31 of 58



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Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/15

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            Case 21-52238-lrc                         Doc 1           Filed 03/19/21 Entered 03/19/21 11:08:13                                               Desc Main
                                                                      Document     Page 32 of 58

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 Official Form '106D
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         Case 21-52238-lrc                        Doc 1             Filed 03/19/21 Entered 03/19/21 11:08:13                                              Desc Main
                                                                    Document     Page 33 of 58
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              Case 21-52238-lrc                                      Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                                Desc Main
                                                                                 Document     Page 34 of 58
                       TIEN                                     OUANG                  LE


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            Case 21-52238-lrc                   Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                                Desc Main
                                                            Document     Page 35 of 58
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            Case 21-52238-lrc                                Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                               Desc Main
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        Case 21-52238-lrc                       Doc 1      Filed 03/19/21 Entered 03/19/21 11:08:13                                                      Desc Main
                                                           Document     Page 37 of 58
             TIEN                  OUANG           LE


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                                                  Document     Page 38 of 58
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                                                  Document     Page 39 of 58
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     Case 21-52238-lrc                   Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                   Desc Main
                                                       Document     Page 40 of 58
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       Case 21-52238-lrc                       Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                                Desc Main
                                                           Document     Page 41 of 58

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Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   '12t'15

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         Case 21-52238-lrc                              Doc 1          Filed 03/19/21 Entered 03/19/21 11:08:13                                        Desc Main
                                                                       Document     Page 42 of 58

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           Case 21-52238-lrc                       Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                                             Desc Main
                                                                 Document     Page 43 of 58

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               Case 21-52238-lrc                 Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                            Desc Main
                                                               Document     Page 44 of 58

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             Case 21-52238-lrc                            Doc 1             Filed 03/19/21 Entered 03/19/21 11:08:13                                        Desc Main
                                                                            Document     Page 45 of 58


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           Case 21-52238-lrc                 Doc 1        Filed 03/19/21 Entered 03/19/21 11:08:13                               Desc Main
                                                          Document     Page 46 of 58

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                                                                      Document     Page 47 of 58




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                                                                   Document     Page 48 of 58


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                                                             Document     Page 49 of 58

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           Case 21-52238-lrc                         Doc 1              Filed 03/19/21 Entered 03/19/21 11:08:13                                               Desc Main
                                                                        Document     Page 51 of 58




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             Case 21-52238-lrc                        Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                           Desc Main
                                                                    Document     Page 52 of 58

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 Official Form 106Dec
  Declaration About an lndividual Debtor's Schedules                                                                                                    12115


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Case 21-52238-lrc             Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                             Desc Main
                                          Document     Page 53 of 58

82030 (Form 2030) ( l2l15)




                               United States Bankruptcy Court
                                             Norlhern D;strict Of Georgia




                                                                           Case No.

                       TIEN QUANC LE
Deblor                                                                     Chapter

                        DISCIOSURE OFCOMPENSATION OF ATTORNEY FOR DEBTOR

l.   Pursuant to I I U.S.C.0 329(a) and Fed. Bark. p.2016(b), t ceniry that I am th€ anomey for the above
     named d€bto(s) and thal compensation paid ro me within one year befor€ th€ filing oflhe p€tition in
     bankuptcy, or agreed to be paid to me, for s€rvices rendered or to b€ rend€red on behatfofthe debtor(s) in
     contemplation ofor in conn€ction with the bankruptcy case is as folows:

     For leSals€rvic€s,I have agreed to    accept...   _..........................         S   I.137.00

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          LJ I have agreed ro share rhe above-disclosed comp€nsalion with a other person or persons who arc not
          members or associates ofmy law firm. A oopy ofthe agre€menl. together with a lGl oflh€ names ofrhe
          p€ople sharing in the compensation, is anached.

     ln r€tum for the above-disclosed fee, I have agreed to render t€gal servjce for   a   asp€cts   ofrhe bankruplcy
     cas€, including:

     a.   Analysis ofthe deblor's financial siluation, and rendering advice lo th€ d€btor in det€rmining whether lo
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     b.   PrepaBtion and filing ofany petition, schedul€s, sralem€nts ofaffairs and plan which may be required;

     c.   Representation ofth€ debtor al th€ m€€ring of cr€ditors and confirmation hesring, and any adjoumed
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Case 21-52238-lrc            Doc 1       Filed 03/19/21 Entered 03/19/21 11:08:13                       Desc Main
                                         Document     Page 54 of 58

82010 (Fom 2030) (12115)

  d.   Olher provision as need€d: None




6. By agreenent with thed€blor(s), the abov€-disclosed f€e does nor include ih€ fouowing seNices:
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               Case 21-52238-lrc                     Doc 1               Filed 03/19/21 Entered 03/19/21 11:08:13                                    Desc Main
                                                                         Document     Page 55 of 58



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        Case 21-52238-lrc                Doc 1         Filed 03/19/21 Entered 03/19/21 11:08:13                                    Desc Main
                                                       Document     Page 56 of 58

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Case 21-52238-lrc        Doc 1   Filed 03/19/21 Entered 03/19/21 11:08:13   Desc Main
                                 Document     Page 57 of 58


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Case 21-52238-lrc         Doc 1   Filed 03/19/21 Entered 03/19/21 11:08:13   Desc Main
                                  Document     Page 58 of 58


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